          Case 1:13-cr-10026-SOH                   Document 222              Filed 10/14/16         Page 1 of 6 PageID #: 1158
AO 245B (Rev. 10/15) Judgment in a Criminal Case
                       Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                        Western District of Arkansas
                                                                         )
              UNITED STATES OF AMERICA                                   )      JUDGMENT IN A CRIMINAL CASE
                                   v.                                    )
                                                                         )
                                                                         )      Case Number:           1:13CR10026-004
                     CLARRISE R. CAREY                                   )      USM Number:            11856-010
                                                                         )
                                                                         )      Jason Lee Horton
                                                                         )      Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        One (1) and Three (3) of the Indictment on August 3, 2015.

G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                       Offense Ended               Count
18 U.S.C. § 286                   Conspiracy to Defraud the Government With Respect to Claims             12/2011                       1


18 U.S.C. §§ 641 and 2            Theft of Public Money                                                   04/25/2011                     3


The defendant is sentenced as provided in pages 2 through         6      of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
G The defendant has been found not guilty on count(s)
X Count(s)       4, 14, 21, and 22 of the Indictment   G is      X are dismissed on the motion of the United States.
It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or mailing
address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                        October 11, 2016
                                                                        Date of Imposition of Judgment


                                                                        /s/ Susan O. Hickey
                                                                        Signature of Judge



                                                                        Honorable Susan O. Hickey, U.S. District Judge
                                                                        Name and Title of Judge

                                                                        October 14, 2016
                                                                        Date
AO 245B (Rev.
         Case 10/15) Judgment in Criminal Case
                  1:13-cr-10026-SOH              Document 222              Filed 10/14/16       Page 2 of 6 PageID #: 1159
                       Sheet 2 — Imprisonment

                                                                                                    Judgment — Page    2       of   6
 DEFENDANT:                   CLARRISE R. CAREY
 CASE NUMBER:                 1:13CR10026-004

                                                            IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:    fifteen (15) months on each count, with credit for any time already served in federal custody. Both terms to run
                     concurrently.




     X The court makes the following recommendations to the Bureau of Prisons:
         Placement at the Carswell facility in Fort Worth, Texas




     G The defendant is remanded to the custody of the United States Marshal.

     G The defendant shall surrender to the United States Marshal for this district:
         G at                                    G a.m.      G p.m.         on                                             .

         G as notified by the United States Marshal.

     X The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         X before 2 p.m. on           November 30, 2016                .

         G as notified by the United States Marshal.
         G as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




         Defendant delivered on                                                        to

 a                                                , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                        By
                                                                                              DEPUTY UNITED STATES MARSHAL
AO 245B (Rev.
        Case  10/15) Judgment in a Criminal Case
                  1:13-cr-10026-SOH                  Document 222             Filed 10/14/16        Page 3 of 6 PageID #: 1160
                      Sheet 3 — Supervised Release
                                                                                                           Judgment—Page       3   of         6
 DEFENDANT:                    CLARRISE R. CAREY
 CASE NUMBER:                  1:13CR10026-004
                                                          SUPERVISED RELEASE

 Upon release from imprisonment, the defendant shall be on supervised release for a term of :          three (3) years on both counts. Terms
                                                                                                       to run concurrently.




 The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
 of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)

 X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

   The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 G as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
        works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
 If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
 of Payments sheet of this judgment.
 The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
 attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
   1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)    the defendant shall support his or her dependents and meet other family responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
   6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
         felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
  13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant’s compliance with such notification requirement.
AO 245B Case
        (Rev. 10/15) Judgment in a Criminal Case
                1:13-cr-10026-SOH                  Document 222        Filed 10/14/16          Page 4 of 6 PageID #: 1161
        Sheet 3C — Supervised Release
                                                                                                     Judgment—Page     4     of        6
DEFENDANT:                  CLARRISE R. CAREY
CASE NUMBER:                1:13CR10026-004

                                          SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall submit her person, residence, and/or vehicle(s) to searches which may be conducted at the request of the United
States Probation Officer at a reasonable time, and in a reasonable manner, based upon reasonable suspicion of a violation of any conditions
of release. Failure to submit to a search may be grounds for revocation.
2. The defendant shall comply with any referral deemed appropriate by the probation officer for inpatient or outpatient evaluation,
treatment, counseling, or testing for mental health issues.
3. The defendant will enroll in adult education classes and complete her G.E.D., if not obtained while incarcerated, prior to the expiration
of her supervised release.
4. The defendant shall provide the probation officer with access to any requested financial information for purposes of monitoring
restitution payments and employment.
5. The defendant shall not incur new credit charges or open additional lines of credit without the approval of the United States Probation
Officer.
6. The defendant shall not participate in any form of gambling unless payment of any financial obligation ordered by the Court has been
paid in full.
         Case
AO 245B (Rev.     1:13-cr-10026-SOH
              10/15) Judgment in a Criminal Case     Document 222             Filed 10/14/16        Page 5 of 6 PageID #: 1162
         Sheet 5 — Criminal Monetary Penalties
                                                                                                     Judgment — Page      5     of        6
 DEFENDANT:                        CLARRISE R. CAREY
 CASE NUMBER:                      1:13CR10026-004
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                       Fine                               Restitution
 TOTALS             $ 200.00                                          $ -0-                              $ 34,532.00


 G The determination of restitution is deferred until                  . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 X The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                     Total Loss*                    Restitution Ordered                  Priority or Percentage
 IRS-RACS                                                                                      $34,532.00
 Attention: Mail Stop 6261,
 Restitution
 333 W. Pershing Avenue
 Kansas City, MO 64108




 TOTALS                                $                                      $                34,532.00


 G     Restitution amount ordered pursuant to plea agreement $

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 X     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       X the interest requirement is waived for the          G fine      X restitution.
       G the interest requirement for the           G fine       G restitution is modified as follows:

 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
AO 245B (Rev.
        Case  10/15) Judgment in a Criminal Case
                  1:13-cr-10026-SOH                Document 222                Filed 10/14/16            Page 6 of 6 PageID #: 1163
        Sheet 6 — Schedule of Payments

                                                                                                               Judgment — Page       6      of          6
 DEFENDANT:                  CLARRISE R. CAREY
 CASE NUMBER:                1:13CR10026-004

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     X Lump sum payment of $             34,732.00            due immediately, balance due

            G     not later than                                     , or
            X     in accordance          G C,      G D,        G E, or          X F below; or
 B     G Payment to begin immediately (may be combined with                  G C,         G D, or      G F below); or
 C     G Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D     G Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E     G Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F     X Special instructions regarding the payment of criminal monetary penalties:
            If not paid immediately, any unpaid financial penalty imposed shall be paid during the period of incarceration at a rate of not less than
            $25.00 quarterly, or 10% of the defendant’s quarterly earnings, whichever is greater. After incarceration, any unpaid financial penalty
            shall become a special condition of supervised release and may be paid in monthly installments of $100 or 10% of the defendant’s
            net monthly household income, whichever is greater, with the entire balance to be paid in full one month prior to the termination of
            supervised release


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 G Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 G The defendant shall pay the cost of prosecution.
 G The defendant shall pay the following court cost(s):
 G The defendant shall forfeit the defendant’s interest in the following property to the United States:

 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
